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             15-455                           To Be Argued By:
                                              ELLEN BLAIN


     United States Court of Appeals
                FOR THE SECOND CIRCUIT
                  Docket No. 15-455


DELAMA GEORGES, Individually and on behalf of the Estate of
Desilus Georges and all others similarly situated, ALIUS
JOSEPH, Individually and on behalf of the Estate of Marie-
            (Caption continued on inside cover)

    ON APPEAL FROM THE UNITED STATES DISTRICT COURT
        FOR THE S OUTHERN D ISTRICT OF N EW Y ORK



  BRIEF FOR THE UNITED STATES OF AMERICA AS
  AMICUS CURIAE IN SUPPORT OF AFFIRMANCE

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Claude Lefeuve and all others similarly situated, LISETTE PAUL,
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others similarly situated, FELICIA PAULE, Individually and on
behalf of all others similarly situated, JEAN RONY SILFORT,
Individually and on behalf of all others similarly situated,
                                          Plaintiffs-Appellants,
                             —v.—

UNITED NATIONS, UNITED NATIONS STABILIZATION MISSION
IN HAITI, EDMOND MULET, FORMER UNDER-SECRETARY-
GENERAL OF THE UNITED NATIONS STABILIZATION MISSION
IN HAITI, BAN KI-MOON, SECRETARY-GENERAL OF THE
UNITED NATIONS,
                                  Defendants-Appellees.
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        United States Court of Appeals
                FOR THE SECOND CIRCUIT
                    Docket No. 15-455



     DELAMA GEORGES, INDIVIDUALLY AND ON BEHALF OF
      THE ESTATE OF DESILUS GEORGES AND ALL OTHERS
    SIMILARLY SITUATED, ALIUS JOSEPH, INDIVIDUALLY AND
    ON BEHALF OF THE ESTATE OF MARIE-CLAUDE LEFEUVE
     AND ALL OTHERS SIMILARLY SITUATED, LISETTE PAUL,
       INDIVIDUALLY AND ON BEHALF OF THE ESTATE OF
     FRITZNEL PAUL AND ALL OTHERS SIMILARLY SITUATED,
     FELICIA PAULE, INDIVIDUALLY AND ON BEHALF OF ALL
      OTHERS SIMILARLY SITUATED, JEAN RONY SILFORT,
         INDIVIDUALLY AND ON BEHALF OF ALL OTHERS
                    SIMILARLY SITUATED,

                                   Plaintiffs-Appellants,
                           —v.—

      UNITED NATIONS, UNITED NATIONS STABILIZATION
     MISSION IN HAITI, EDMOND MULET, FORMER UNDER-
        SECRETARY-GENERAL OF THE UNITED NATIONS
       STABILIZATION MISSION IN HAITI, BAN KI-MOON,
       SECRETARY-GENERAL OF THE UNITED NATIONS,
                                  Defendants-Appellees.


       BRIEF FOR THE UNITED STATES OF AMERICA
                  AS AMICUS CURIAE
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               Interest of the United States
        The United States makes this submission pursu-
    ant to 28 U.S.C. § 517 and Rule 29(a) of the Federal
    Rules of Appellate Procedure, consistent with the
    United States’ obligations as a party to treaties gov-
    erning the immunities of the United Nations (“UN”).
    The member states of the UN conferred absolute im-
    munity on the UN in order to allow it to perform its
    vital missions without facing the threat of lawsuits in
    multiple countries, contradictory court orders issued
    by tribunals around the world, judicial intervention
    in sensitive policy and operational matters, and the
    diversion of resources (provided by the member
    states) to the burdens and expenses of litigation. And
    it is only those member states—and not private
    plaintiffs—which may seek remedies for alleged vio-
    lations of the multinational treaty that created the
    UN.
        The United States has consistently asserted the
    absolute immunity of the UN to lawsuits filed against
    it in domestic courts, and courts, including the Sec-
    ond Circuit, have consistently upheld the UN’s im-
    munity. Moreover, the UN’s integral component, de-
    fendant-appellee the United Nations Stabilization
    Mission in Haiti (“MINUSTAH”), as well as defend-
    ants-appellees Ban Ki-Moon, the Secretary-General
    of the UN (“Secretary-General Ban”), and Edmond
    Mulet, former Special Representative and Head of
    the United Nations Stabilization Mission in Haiti and
    current Assistant Secretary-General for UN Peace-
    keeping Operations (“Assistant Secretary-General
    Mulet”), also enjoy immunity from this lawsuit. Be-
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    cause the UN and its officials are immune from suit,
    this Court should affirm the district court’s judgment
    dismissing this action for lack of subject matter juris-
    diction.

                   Statement of the Case

    A. Conferral of Absolute Immunity Upon the UN
        In 1942, twenty-four nations, including the United
    States, signed the United Nations Declaration, de-
    claring that “complete victory over their enemies is
    essential to defend life, liberty, independence and re-
    ligious freedom, and to preserve human rights and
    justice,” and pledging those nations to the war effort.
    United Nations Declaration, available at http://
    www.un.org/en/aboutun/history/index.shtml. Building
    on that declaration, representatives of fifty countries
    met in San Francisco three years later to draft the
    Charter of the United Nations (“UN Charter”) and
    establish the UN. See id.; see also Report of the Pre-
    paratory Commission of the UN (Dec. 23, 1945), UN
    Doc. PC/20, Introduction ¶ 1(“Preparatory Commis-
    sion Report”), available at http://www.un.org/ga/
    search/view_doc.asp?symbol=PC/EX/113/Rev.1.           On
    June 26, 1945, the representatives signed the UN
    Charter. See UN Charter, June 26, 1945, 59 Stat.
    1031, TS 993, 3 Bevans 1153. Article 1 of the UN
    Charter declares that the “[p]urposes of the United
    Nations [include] maintain[ing] peace and security,”
    and “achiev[ing] international cooperation in solving
    international problems[.]” Id., art. 1. Articles 104 and
    105 of the UN Charter provide that the UN “shall en-
    joy in the territory of each of its Members such legal
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    capacity as may be necessary for the exercise of its
    functions” and “such privileges and immunities as are
    necessary for the fulfilment of its purposes.” Id., arts.
    104, 105.
        The day after the UN Charter was signed, the
    UN’s Preparatory Committee, consisting of one rep-
    resentative from each of the UN Charter signatories,
    began meeting to propose recommendations to the
    member states regarding the UN’s organization. See
    Preparatory Commission Report, Introduction ¶ 1.
    The Preparatory Commission also made recommen-
    dations defining the “legal capacity” and “immuni-
    ties” that Articles 104 and 105 of the UN Charter
    conferred upon the UN. Id. at Chapter VII. Based on
    those recommendations, the UN General Assembly,
    on February 13, 1946, adopted the Convention on the
    Privileges and Immunities of the United Nations
    (“General Convention”), Feb. 13, 1946, 21 U.S.T.
    1418, 1 U.N.T.S. 16, entered into force with respect to
    the United States Apr. 29, 1970, 21 U.S.T. 1418.
        Article II of the General Convention addresses the
    UN’s property, funds and assets. Article II, Section 2,
    specifically provides that “[t]he United Nations, its
    property and assets wherever located and by whom-
    soever held, shall enjoy immunity from every form of
    legal process except insofar as in any particular case
    it has expressly waived its immunity.” General Con-
    vention, art. II, § 2 (“Section 2”).
       Article VIII of the General Convention addresses
    dispute resolution procedures. Article VIII, Section
    29, provides: “The United Nations shall make provi-
    sions for appropriate modes of settlement of: (a) dis-
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    putes arising out of contracts or other disputes of a
    private law character to which the United Nations is
    a party.” General Convention, art. VIII, § 29 (“Section
    29”).

    B. The UN’s Role in Haiti
        MINUSTAH is a UN peacekeeping mission estab-
    lished by the UN Security Council that reports direct-
    ly to the Secretary-General, and is an integral part of
    the UN. See United Nations: About the UN, http://
    www.un.org/en/about-un/index.html (last visited July
    22, 2015). The UN Security Council established MI-
    NUSTAH on April 30, 2004, in order to, among other
    things, “ensure a secure and stable environment
    within which the constitutional and political process
    in Haiti can take place[.]” Security Council Resolu-
    tion 1542 (2004), I(a). On July 9, 2004, the UN and
    the Government of Haiti entered into the Agreement
    Between the United Nations and the Government of
    Haiti Concerning the Status of the United Nations
    Operation in Haiti. SA 38-50 (“Status of Forces
    Agreement” or “SOFA”). The SOFA explicitly pro-
    vides that MINUSTAH “shall enjoy the privileges and
    immunities . . . provided for in the [General] Conven-
    tion.” SOFA, art. III, § 3.
       In the aftermath of the devastating earthquake in
    Haiti on January 12, 2010, the UN authorized the
    deployment of 8,940 troops and 4,391 police to help
    restore the country’s security and stability. See http://
    www.un.org/en/ga/search/view_doc.asp?symbol=S/
    RES/1927(2010). MINUSTAH currently consists of
    4,577 uniformed personnel, 317 international civilian
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    personnel, and 1,134 local civilian staff. See http://
    www.un.org/en/peacekeeping/missions/minustah/
    facts.shtml. In December 2012, the UN launched “the
    Initiative for the Elimination of Cholera in the Island
    of Hispaniola,” and appointed a Senior Cholera Coor-
    dinator, in order to respond to the cholera epidemic
    and oversee cholera elimination efforts. See http://
    www.un.org/News/dh/infocus/haiti/
    UN_Support_Strategy_Elimination_Cholera%20_FE
    B_2014.pdf. The UN has continued its work in Haiti
    to combat the cholera epidemic. See http://www.onu-
    haiti.org/wp-content/uploads/2014/12/UN-Factsheet-
    Final-VersionCholera-October-November-2014.pdf.


                       ARGUMENT

                           POINT I

     Appellants’ Claims Against The United Nations
      And MINUSTAH Were Properly Dismissed For
          Lack Of Subject Matter Jurisdiction

    A. The UN and MINUSTAH Are Immune From
       Suit Unless Such Immunity Is Expressly
       Waived
       It is well-established that the UN and its subsidi-
    ary organ MINUSTAH are absolutely immune from
    suit in domestic courts.1 See, e.g., Brzak v. United Na-
    —————
       1  As an organ of the UN, MINUSTAH enjoys the
    same absolute immunity as does the UN under the
    General Convention. See Emmanuel v. United States,
    253 F.3d 755, 756 (1st Cir. 2001); see also A-130 (“As
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    tions, 597 F.3d 107, 112 (2d Cir. 2010). The district
    court therefore correctly rejected Appellants’ argu-
    ment that the UN’s immunity from suit is condi-
    tioned upon the provision of an alternate mechanism
    to resolve Appellants’ tort claims. Nothing in the
    General Convention or the SOFA suggests that the
    UN’s immunity is conditional. To the contrary, as re-
    flected by the text and drafting history of the General
    Convention, and as confirmed by every court to have
    considered the issue, the UN’s immunity is absolute
    in the absence of an express waiver.

       1. The UN and MINUSTAH Enjoy Absolute
          Immunity From Suit Pursuant to Section 2
          of the General Convention
        “The interpretation of a treaty, like the interpre-
    tation of a statute, begins with its text.” Medellin v.
    Texas, 552 U.S. 491, 506 (2008). Section 2 of the Gen-
    eral Convention provides, in pertinent part, that
    “[t]he United Nations . . . shall enjoy immunity from
    every form of legal process except insofar as in any
    particular case it has expressly waived its immunity.”
    The United States understands Section 2 of the Gen-
    —————
    a subsidiary organ of the United Nations, MI-
    NUSTAH is also entitled to the privileges and im-
    munities provided for in the General Convention.”).
    Indeed, as noted above, the SOFA explicitly provides
    that MINUSTAH “shall enjoy the privileges and im-
    munities . . . provided for in the [General] Conven-
    tion.” SOFA, art. III, § 3.
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    eral Convention to mean what it unambiguously says:
    the UN, including MINUSTAH, enjoys absolute im-
    munity from this or any suit unless the UN itself ex-
    pressly waives its immunity. The provision could not
    be any clearer. The word “except” is followed by a
    single exception: express waiver. Section 2 does not
    admit of any other exceptions or preconditions, it
    does not cross-reference other sections of the treaty,
    and it does not contain any caveats. It therefore es-
    tablishes the UN’s absolute immunity from suit, ab-
    sent an express waiver, in unequivocal terms.
        To the extent there could be any alternative read-
    ing of the General Convention’s text, the Court
    should give deference to the Executive Branch’s in-
    terpretation of the General Convention. See, e.g., Ko-
    lovrat v. Oregon, 366 U.S. 187, 194 (1961) (“While
    courts interpret treaties for themselves, the meaning
    given them by the departments of government par-
    ticularly charged with their negotiation and enforce-
    ment is given great weight.”); Tachiona v. United
    States, 386 F.3d 205, 216 (2d Cir. 2004) (interpreting
    the General Convention and noting, “in construing
    treaty language, ‘[r]espect is ordinarily due the rea-
    sonable views of the Executive Branch’ ” (quoting El
    Al Israel Airlines, Ltd. v. Tsui Yuan Tseng, 525 U.S.
    155, 168 (1999))). Both the plain language of the
    General Convention and the understanding of the
    Executive Branch therefore yield the same conclusion
    —that the UN is immune from Appellants’ action.
       In light of the unequivocal treaty language and
    the views of the Executive Branch, it is unsurprising
    that courts, including the Second Circuit, have uni-
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    versally recognized that the United Nations “enjoys
    absolute immunity from suit unless ‘it has expressly
    waived its immunity.’ ” Brzak, 597 F.3d at 112 (quot-
    ing General Convention); see also United States v.
    Bahel, 662 F.3d 610, 623 (2d Cir. 2011) (“[T]he plain
    language of Article II leaves no doubt that the U.N.
    can only waive immunity for itself . . . expressly.”);
    Van Aggelen v. United Nations, 311 Fed. Appx. 407
    (2d Cir. 2009); Emmanuel, 253 F.3d at 756 n.2.2




    —————
       2   In Brzak, this Court held that the UN is also
    immune under the International Organizations Im-
    munities Act (“IOIA”). 597 F.3d at 112-13. The IOIA
    provides in relevant part that designated interna-
    tional organizations, including the UN, enjoy “the
    same immunity from suit and every form of legal pro-
    cess as is enjoyed by foreign governments.” 22 U.S.C.
    § 288a(b). Although the Court has not ruled on
    whether this immunity is absolute or subject to the
    exceptions to immunity provided for in the Foreign
    Sovereign Immunities Act, 28 U.S.C. §§ 1602-11,
    1630 (“FSIA”), that dispute is irrelevant where there
    is no relevant FSIA exception, Brzak, 597 F.3d at
    112-13, as is the case here. The IOIA does not men-
    tion any requirement that an international organiza-
    tion provide for alternative dispute mechanisms. Ac-
    cordingly, the UN is immune under the IOIA as well
    as the General Convention.
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       2. The Text of the General Convention
          Confirms that the UN’s Immunity is Not
          Preconditioned upon Compliance with
          Section 29
       The plain language of the treaty makes clear that
    the immunity conferred upon the UN by Section 2 is
    not conditioned upon compliance with the settlement
    resolution provisions found in Section 29(a) of the
    General Convention. Section 29 provides: “The Unit-
    ed Nations shall make provisions for appropriate
    modes of settlement of: (a) disputes arising out of con-
    tracts or other disputes of a private law character to
    which the United Nations is a party.” General Con-
    vention, art. VIII, § 29. Nothing in Section 29(a)
    states, either explicitly or implicitly, that compliance
    with its terms is a precondition to the UN’s immunity
    under Section 2. Conversely, Section 29(a) is not even
    referenced in Section 2, let alone listed as a precondi-
    tion or an exception to the immunity afforded the UN
    under that provision. Appellants argue, in effect, that
    such a precondition should exist, but the text of the
    General Convention makes clear that it does not.
        This Court has previously rejected an almost iden-
    tical argument regarding the interplay between Sec-
    tion 29 and Section 2. In Brzak, plaintiffs argued
    that, where there are “inadequacies with the [UN’s]
    internal dispute resolution” that would preclude a
    party from obtaining relief from the UN, the UN
    could no longer claim its immunity from suit under
    Article 2. Brzak, 597 F.3d at 112. This Court disa-
    greed, holding that “crediting this argument would
    read the word ‘expressly’ out of the [General Conven-
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    tion].” Id. The Brzak decision therefore reaffirmed
    that the UN “enjoys absolute immunity” regardless of
    whether a party would have adequate recourse under
    Section 29 to alternate claims resolution procedures.
    Id.
        The district court below, in applying the Brzak de-
    cision to the instant case, noted that the language in
    Section 29
          may suggest that section 29 is more
          than merely aspirational—that it is ob-
          ligatory and perhaps enforceable. But
          even if that is so, the use of the word
          “shall” in section 29 cannot fairly be
          read to override the clear and specific
          grant of “immunity from every form of
          legal process”—absent an express waiv-
          er—in section 2, as construed by the
          Second Circuit.
    SA 6; see also Bisson v. UN, 2007 WL 2154181, at *9
    (S.D.N.Y. July 27, 2007) (recommendation by magis-
    trate judge, adopted, 2008 WL 375094 (S.D.N.Y. Feb.
    11, 2008)) (“[S]ection 29(a) of the [General] Conven-
    tion does not contain any language effecting an ex-
    press waiver under any circumstances. Even assum-
    ing arguendo that the UN and the [World Food Pro-
    gramme] have failed to provide an adequate settle-
    ment mechanism for Bisson’s claims, such a failure
    does not constitute the equivalent of an express waiv-
    er of immunity. An express waiver may not be in-
    ferred from conduct.”). Therefore, the existence or ad-
    equacy of an alternative remedy is irrelevant to a
    court’s immunity analysis.
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       Appellants’ arguments that Brzak is not control-
    ling, see Brief for Appellants (“Ap. Br.”) at 38-40, miss
    the mark. First, Appellants’ assertion that “Brzak
    concerned the interpretation of a waiver of immunity”
    and therefore “has no bearing on whether compliance
    with Section 29 is a condition precedent to Section 2
    immunity,” id. at 39-40, attempts to draw a distinc-
    tion where none exists. Regardless of whether the is-
    sue is styled as an issue of waiver or a condition prec-
    edent, the question remains the same: whether the
    UN’s immunity is vitiated by a failure to provide an
    alternate mode of dispute resolution under Section
    29. And as every court to have considered the issue
    has held, the answer is no.
        Second, that the plaintiffs in Brzak had access to
    an allegedly inadequate dispute resolution process
    while Appellants allegedly were not given access to
    any procedure, see Ap. Br. at 41-42, is not a meaning-
    ful distinction, as the Court’s decision did not turn on
    the existence of an alternative claim process. Indeed,
    the Court found the inadequacies of these alternative
    measures to be entirely irrelevant to the immunity
    question. 597 F.3d at 112. Rather, the Brzak decision
    was based on the language of Section 2, which pro-
    vides the UN with “absolute immunity” that can be
    abrogated only by express waiver. Id.
        The fact that Brzak involved an employment dis-
    pute is similarly irrelevant. The Brzak decision did
    not purport to read the immunity provisions of the
    General Convention more broadly because the under-
    lying dispute involved employment claims. Further-
    more, the cases cited by Appellants regarding the
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    immunities of international organizations to em-
    ployment lawsuits are inapposite, as none involved
    the UN and the immunity provisions of the General
    Convention. See Ap. Br. at 43-44 (citing Mendaro v.
    World Bank, 717 F.2d 610 (D.C. Cir. 1983) (involving
    the World Bank); Broadbent v. Org. of Am. States,
    628 F.2d 27 (D.C. Cir. 1980) (involving the Organiza-
    tion of American States); Lutcher S.A. Celulose e
    Papel v. Inter-Am. Dev. Bank, 382 F.2d 454 (D.C. Cir.
    1967) (involving the Inter-American Development
    Bank)). In sum, the Brzak decision means what it
    says, just as Section 2 of the General Convention
    means what it says—the UN is absolutely immune
    from suit absent express waiver.
       Despite the unequivocal treaty language, Appel-
    lants suggest that the Government’s reading of the
    General Convention is “unreasonable” because it
    gives “no effect” to Section 29. Ap. Br. at 44, 46. Yet
    this argument proceeds from a false premise—that
    provisions of international treaties are only operative
    to the extent they can be enforced through suits
    brought by private litigants. This is not the case. As
    discussed in more detail infra in Point I.A.5, it is the
    state parties to the General Convention that have
    rights under the treaty, and disputes between a
    member state and the UN regarding the UN’s appli-
    cation of the provisions of General Convention can be
    adjudicated, but only by the International Court of
    Justice. General Convention, art. VIII, § 30.
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       3. The Drafting History of the General
          Convention Confirms that the UN’s
          Immunity is Unconditional
        Although the text of the treaty makes clear that
    the UN enjoys absolute immunity, the drafting histo-
    ry confirms that the UN’s immunity is not contingent
    on whether or how it settles disputes. As the district
    court correctly held, “the [Convention’s] drafting his-
    tory . . . does not, as Plaintiffs argue, indicate the in-
    tent that such a mechanism is required in order for
    the UN to claim immunity in any particular case;”
    instead, it indicates “at most the commitment . . .
    that the UN will provide a dispute resolution mecha-
    nism for private claims.” SA 6 (emphasis in original;
    citing Tachiona, 386 F.3d at 216).
       The United States representative to the UN un-
    derstood, from the date that the UN Charter was
    signed, that
          [t]he United Nations, being an organiza-
          tion of all of the member states, is clear-
          ly not subject to the jurisdiction or con-
          trol of any one of them and the same will
          be true for the officials of the Organiza-
          tion. The problem will be particularly
          important in connection with the rela-
          tionship between the United Nations
          and the country in which it has its seat.
    Report to the President on the Results of the San
    Francisco Conference by the Chairman of the United
    States Delegation, the Secretary of State (June 26,
    1945), reprinted in 13 Digest of Int’l Law 37 (1963).
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    Thus, the work of building on the privileges and im-
    munities provisions of the UN Charter, including the
    statement that the UN “shall enjoy in the territory of
    each of its Members such privileges and immunities
    as are necessary for the fulfillment of its purposes,”
    Charter § 105(1), was undertaken with the under-
    standing—at least as far as the United States was
    concerned—that the UN would be absolutely immune
    from the jurisdiction of all of its members.
       Before the Preparatory Commission transmitted a
    draft convention to the General Assembly for its con-
    sideration, the Commission studied a set of prece-
    dents for the UN’s privileges and immunities. See
    Preparatory Commission Report, Chapter VII, Annex
    to Study of Privileges and Immunities.3 The Commis-
    sion evaluated approaches ranging from absolute
    immunity subject only to waiver, to immunity provi-
    sions that would permit lawsuits in the national
    courts under various circumstances. See id. The Gen-
    eral Assembly, in approving the General Convention,
    chose absolute immunity.
       Appellants have not identified anything in the
    drafting history of the General Convention that
    would suggest that the drafters of the General Con-
    —————
       3  Appellants cite to the Report of the Executive
    Committee of the Preparatory Commission, which
    was addressed to the Preparatory Commission. See
    Ap. Br. at 28-29; A-201-205. The Preparatory Com-
    mission based much of its work on that of the Execu-
    tive Committee. See Preparatory Commission Report,
    ¶¶ 1-4.
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    vention intended that compliance with Section 29 is a
    precondition to an assertion of immunity under Sec-
    tion 2. For example, the isolated statements culled by
    Appellants from the Report of the Executive Commit-
    tee of the Preparatory Commission refer alternately
    to the immunities requested by diplomats, Ap. Br. at
    16 (quoting A-203 (the Study on Privileges & Immun-
    ities, PC/EX/113/Rev.1, at 70, Nov. 12, 1945,¶ 7)), and
    to the immunities and privileges of “specialized agen-
    cies” such as the International Monetary Fund and
    the International Bank for Reconstruction and Devel-
    opment, which operate independently of the UN and
    whose privileges and immunities are the subject of a
    separate treaty,4 Ap. Br. at 16 (quoting A-203 ¶ 5).
    Not only do these passages not address the immunity
    of the UN itself, neither of these selections so much
    as refers to alternate dispute procedures, let alone
    indicates that the establishment of such procedures is
    a precondition to immunity.
        Similarly inapposite is the statement by the UN’s
    Executive Committee of the Preparatory Commission
    to the effect that, when the UN enters into contracts
    —————
       4    See Convention on the Privileges and Immuni-
    ties of the Specialized Agencies of the United Nations
    33 U.N.T.S. 261 (“Specialized Agencies Convention”).
    The United States is not a party to the Specialized
    Agencies Convention. See UN Treaty Collection, Sta-
    tus as of June 25, 2014, available at https://
    treaties.un.org/Pages/
    ViewDetails.aspx?src=TREATY&mtdsg_no=III-
    2&chapter=3&lang=en.
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    with private individuals or corporations, “it should
    include in the contract an undertaking to submit to
    arbitration disputes arising out of the contract, if it is
    not prepared to go before the Courts.” Ap. Br. at 28
    (quoting A-203 ¶ 7) (first emphasis added). The use of
    the word “should” is hortatory and undermines Ap-
    pellants’ position that the UN’s immunity is condi-
    tioned upon providing a dispute resolution mecha-
    nism.
        Nor do drafts of the General Convention state that
    providing access to alternative methods of dispute
    resolution is a “critical pre-condition to . . . immuni-
    ty,” as Appellants argue. Ap. Br. at 29. There is no
    suggestion in the drafting history that the UN’s im-
    munity would be abrogated if the UN does not comply
    with another provision of the General Convention. To
    the contrary, the provisions for UN immunity and
    dispute resolution mechanisms consistently remained
    in separate articles and sections of the draft conven-
    tion, without any link between them.
       Although Appellants claim that such a link can be
    found in the title of a draft of a predecessor to Section
    29, that title referred to the “Control of Privileges and
    Immunities of Officials[,]” and not the UN itself. A-
    302 art. 8 (emphasis added). More importantly, the
    draft of that section said nothing about any pre-
    conditions to the UN’s immunity. See A-303-304. In
    any event, the language regarding “[c]ontrol” disap-
    peared in subsequent drafts of the General Conven-
    tion. See A-317-328. What is constant throughout all
    the drafts of the General Convention is that they pro-
    vide for absolute immunity for the UN, subject only to
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    express waiver. See A-297, art. 4(1); A-320, 323, arts.
    2 and 6; A-327-328. As the district court correctly
    held, see SA 6, the drafting history does not reflect
    any intent to make the UN’s immunity in any partic-
    ular case legally contingent on the UN providing a
    dispute resolution mechanism.

       4. The UN’s Immunity Has Been Consistently
          Recognized by Foreign and International
          Authorities
        In interpreting a treaty, the “opinions of our sister
    signatories . . . are entitled to considerable weight.”
    Abbott v. Abbott, 560 U.S. 1, 16 (2010). Yet neither
    Appellants nor the putative Amici Curiae can cite to
    a single case in which a foreign or international court
    failed to recognize the UN’s immunity from suit un-
    der the General Convention, let alone found that the
    UN’s purported failure to provide alternative reme-
    dies served to abrogate the UN’s immunities under
    the General Convention. To the contrary, the opin-
    ions of other member states to the General Conven-
    tion is in accord with, and thus reinforces, the United
    States’ reading of the treaty.
        Member states have recognized the UN’s absolute
    immunity from suit. See, e.g., Stavrinou v. United
    Nations (1992) CLR 992, ILDC 929 (CU 1992) (Sup.
    Ct. Cyprus 17 July 1992). Indeed, many of the cases
    cited by Appellants and Amici themselves upheld the
    UN’s immunity from suit. See Perez v. Germany, 2015
    Eur. Ct. H.R. ¶¶ 78, 86 (upholding Germany’s deci-
    sion to grant immunity to the UNDP, even where
    UN’s employment dispute resolution process ap-
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    peared to violate the German constitution); Stichting
    Mothers of Srebrenica Ass’n v. Netherlands, 2013 Eur.
    Ct. H.R., 40 ¶ 155 (Sup. Ct. Netherlands 2012) (not-
    ing that “the question of immunity from legal process
    is distinct from the issue of compensation for any
    damages incurred as a result of acts performed by the
    United Nations” (further citations omitted)); Stav-
    rinou, (1992) CLR 992, ILDC 929 (CU 1992).5


    —————
       5   Even the international law scholars cited by
    Appellants and Amici Curiae confirm that courts
    have consistently interpreted the UN’s immunity as
    absolute. See August Reinisch and Ulf Andreas We-
    ber, In the Shadow of Waite and Kennedy, 1 Int’l Org.
    L. Rev. 59, 60 (2004) (“[T]he General Convention . . .
    speaks of immunity from suit in an unqualified way.
    This unqualified, hence unlimited immunity has been
    generally, and particularly by the UN itself, under-
    stood to mean absolute immunity.”); Rosa Freedman,
    UN Immunity or Impunity? A Human Rights Based
    Challenge, 25 EUR. J. INT’L L. 239, 243 (2014)
    (“Courts, generally, have interpreted section 2 [of the
    General Convention] as granting absolute immunity
    to the UN.”); Jan Wouters and Pierre Schmitt, Chal-
    lenging Acts of other United Nations’ Organs, Subsid-
    iary Organs and Officials 13-14 (Leuven Center for
    Global Governance Studies, Working Paper No. 49,
    2010) (“[National jurisdictions] appear unanimously
    to fall back on Article II, section 2 of the General
    Convention and accept the absolute immunity of the
    UN.”).
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        The authorities relied upon the various Amici Cu-
    riae are not to the contrary. Many of these cases con-
    cern organizations other than the UN, see Docket No.
    64-3, Brief of International Law Scholars and Practi-
    tioners as Amici Curiae (“Int’l Sch. Br.”) at 6 (arguing
    that “the lack of an alternative and effective remedy
    for private law claims has been cited as grounds for
    courts to decline to recognize . . . immunity” in cases
    against Germany and the European Space Agency,
    but acknowledging that such decisions “did not di-
    rectly address the question of the UN’s protections”);
    see also Docket No. 86-1, Brief of European Law
    Scholars and Practitioners as Amici Curiae (“Eur.
    Amici Br.”) at 8-11 (citing cases against a private cor-
    poration, Germany, the European Union, the African
    Development Bank, and the Arab League), and thus
    are plainly inapposite. And while two cases cited by
    the European Scholars Amici involve the immunity of
    specialized UN agencies, UNESCO v. Boulouis, Cour
    d’Appel, Paris (Fr.), Jun. 19, 1998, and Maida v. Ad-
    min. for Int’l Assistance, 23 ILR 510 (It. Ct. Cass.
    1955), neither case involved interpretations of the
    General Convention or the similar immunity provi-
    sions of the Specialized Agencies Convention. In-
    stead, in each case the organization’s immunity was
    governed by bilateral agreements entered into be-
    tween the agency and the country in which the suit
    had been brought. See UNESCO (interpreting the
    France-UNESCO Agreement of July 2, 1954, because
    France did not become a party to the Specialized
    Agencies Convention until 2000); Maida, 23 ILR at
    510-515 (evaluating the International Refugee Or-
    ganization’s immunity under an agreement between
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    the I.R.O. and Italy; Italy, at the time, was not a par-
    ty to the Specialized Agencies Convention).
       These decisions therefore have no bearing on the
    scope of immunity afforded to the UN under the Gen-
    eral Convention. As the Second Circuit has recog-
    nized, “whatever immunities are possessed by other
    international organizations, the [General Convention]
    unequivocally grants the United Nations absolute
    immunity without exception.” Brzak, 597 F.3d at
    112.6
        The European Scholars Amici also point to a se-
    ries of cases in which foreign courts invalidated local
    laws implementing UN sanctions resolutions, Eur.
    Amici Br. at 20-21, but in each of those cases courts
    held that they lacked jurisdiction to consider the law-
    fulness of the underlying UN resolution. See Kadi v.
    Council & Comm’n, 2008 E.C.R. I-06351, ¶¶ 287, 312;
    Nada v. Switzerland, 2012 Eur. Ct. H.R. 1691, ¶ 212;
    Al-Dulimi & Mont. Mgmt. Inc. v. Switzerland, 2013
    Eur. Ct. H.R. 1173, ¶¶ 114, 134 (European Court of
    Human Rights did not reach the lawfulness of under-
    —————
       6   In a number of the cases relied upon by Amici,
    the immunity of other international organizations
    was upheld. See Eur. Amici Br. at 8 (citing Waite and
    Kennedy v. Germany, 1999 Eur. Ct. H.R. 393 (uphold-
    ing Germany’s decision to grant immunity to the Eu-
    ropean Space Agency); Beer and Regan v. Germany
    App. 1999 Eur. Ct. H.R. (same); Klausecker v. Ger-
    many, 2015 Eur. Ct. H.R. (upholding Germany’s deci-
    sion to grant immunity to the European Patent Of-
    fice).
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    lying UN resolution, despite noting that the UN reso-
    lution failed to create an alternative dispute resolu-
    tion for individuals added to sanctions list). Thus, to
    the extent relevant, these cases only serve to reaffirm
    that foreign courts recognize that they lack jurisdic-
    tion over proceedings directly challenging UN ac-
    tions.

       5. Appellants Are Not Entitled To Assert
          Breach of the Treaties
        Recasting this same argument in a different form,
    Appellants argue in the alternative that, even if Sec-
    tion 29 is not a precondition to immunity, the UN
    nonetheless cannot invoke the protections of Section
    2 if it is in breach of Section 29 because “a material
    breach of a treaty by one party excuses performance
    by the other parties.” Ap. Br. at 37. Yet this principle
    of international law is of no assistance to Appellants,
    as they are not parties to the relevant treaties. The
    obligations under the General Convention and the
    SOFA are owed to the parties to those agreements. It
    is those parties, and not Appellants, that have a right
    to invoke an alleged breach and seek an appropriate
    remedy from among those legally available. Because
    Appellants are not a party to either the General Con-
    vention or the SOFA, they may not independently as-
    sert an alleged breach and insist upon their own pre-
    ferred remedy.
       Because “a treaty is an agreement between states
    forged in the diplomatic realm and similarly reliant
    on diplomacy (or coercion) for enforcement,” courts
    have “recognize[d] that international treaties estab-
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    lish rights and obligations between States-parties
    and generally not between states and individuals,
    notwithstanding the fact that individuals may benefit
    because of a treaty’s existence.” Mora v. New York,
    524 F.3d 183, 200 (2d Cir. 2008). As the Supreme
    Court explained:
          A treaty is primarily a compact between
          independent nations. It depends for the
          enforcement of its provisions on the in-
          terest and the honor of the governments
          which are parties to it. If these fail, its
          infraction becomes the subject of inter-
          national negotiations and reclamations,
          so far as the injured party chooses to
          seek redress, which may in the end be
          enforced by actual war. It is obvious that
          with all this the judicial courts have
          nothing to do and can give no redress.
    Edye v. Robertson, 112 U.S. 580, 598 (1884), quoted in
    Mora, 524 F.3d at 200. Because “the nation’s powers
    over foreign affairs have been delegated by the Con-
    stitution to the Executive and Legislative branches of
    government,” the Supreme Court “has specifically in-
    structed courts to exercise ‘great caution’ when con-
    sidering private remedies for international law viola-
    tions because of the risk of ‘impinging on the discre-
    tion of the Legislative and Executive Branches in
    managing foreign affairs.’ ” Mora, 524 F.3d at 200
    (quoting Sosa v. Alvarez-Machain, 542 U.S. 692, 727-
    28 (2004)).
       Any claim regarding a purported breach of Section
    29 therefore belongs exclusively to the parties to the
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    General Convention. “[E]ven where a treaty provides
    certain benefits for nationals of a particular state, . . .
    any rights arising out of such provisions are, under
    international law, those of the states[.]” United States
    ex rel. Lujan v. Gengler, 510 F.2d 62, 67 (2d Cir.
    1975) (finding the fact that no state party argued that
    the United States violated the United Nations Char-
    ter was “fatal” to appellant’s claim of violation of the
    treaty; “the failure of Bolivia or Argentina to object to
    [the U.S. actions] would seem to preclude any viola-
    tion of international law”).
        Here, both the General Convention and the SOFA
    provide methods by which the member states or Hai-
    ti, respectively, may dispute the UN’s interpretation
    of the UN’s obligations under these agreements. The
    General Convention and the SOFA provide that any
    dispute between a state party and the UN shall be
    submitted to the International Court of Justice, see
    General Convention, art. VIII, § 30; SOFA art. VIII,
    § 58; and the SOFA provides that any dispute be-
    tween MINUTSAH and the Government of Haiti
    shall be submitted to arbitration, see SOFA art. VIII,
    § 57. Accordingly, the treaties provide that the sover-
    eign states—not private parties—can seek redress for
    any purported breach of the General Convention or of
    the SOFA. Because Appellants are private parties,
    they cannot prevail on arguments based on breaches
    of the provisions of the General Convention or the
    SOFA. See Lujan, 510 F.2d at 67.
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    B. The United Nations and MINUSTAH Have
       Not Expressly Waived Their Immunity
        The UN and MINUSTAH have not expressly
    waived their immunity from Appellants’ suit. To the
    contrary, the UN has repeatedly asserted its immuni-
    ty. On December 20, 2013, for example, Miguel de
    Serpa Soares, the United Nations Legal Counsel,
    wrote to Samantha Power, Permanent Representa-
    tive of the United States to the United Nations, stat-
    ing: “I hereby respectfully wish to inform you that the
    United Nations has not waived and is expressly
    maintaining its immunity with respect to the claims
    in [the instant] Complaint.” A-130. The UN reassert-
    ed its absolute immunity on February 10, 2014. See
    A-134. After this appeal was filed, the UN continued
    to maintain its immunity and that of its officials in
    connection with this matter. As the only possible ex-
    ception to the UN’s immunity, express waiver, has
    not been met, the claims against the UN and MI-
    NUSTAH were therefore properly dismissed.

                          POINT II

     Secretary-General Ban And Assistant Secretary-
         General Mulet Enjoy Immunity From Suit
       The district court correctly held that Secretary-
    General Ban and Assistant Secretary-General Mulet
    are immune from suit. Federal courts, including the
    Second Circuit, have repeatedly recognized the im-
    munity of UN officials pursuant to the General Con-
    vention, incorporating the immunities of the Vienna
    Convention. See, e.g., Brzak, 597 F.3d at 113 (noting
    that, under the Vienna Convention, “current diplo-
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    matic envoys enjoy absolute immunity from civil and
    criminal process”).
        Article V, Section 19 of the General Convention
    provides that “the Secretary-General and all Assis-
    tant Secretaries-General shall be accorded . . . the
    privileges and immunities . . . accorded to diplomatic
    envoys, in accordance with international law.” Id.
    art. V, § 19. The privileges and immunities enjoyed
    by diplomats are governed by the Vienna Convention.
    23 U.S.T. 3227, TIAS No. 7502, 500 U.N.T.S. 95. Ar-
    ticle 31 of the Vienna Convention provides that dip-
    lomatic agents “enjoy immunity from the civil and
    administrative jurisdiction” of the receiving State—
    here, the United States—with a few exceptions that
    do not apply to this case. See id. art. 31; see also
    Swarna v. Al-Awadi, 622 F.3d 123, 134 (2d Cir. 2010)
    (the purpose of diplomatic immunity is “ ‘to ensure
    the efficient performance of the functions of diplomat-
    ic missions as representing States’ ” (quoting Vienna
    Convention preamble cl. 4)).
        Moreover, Secretary-General Ban’s and Assistant
    Secretary-General Mulet’s immunity will continue
    beyond their terms as Secretary-General and Assis-
    tant Secretary-General, respectively. Although a dip-
    lomatic agent’s privileges and immunities cease soon
    after the diplomatic agent’s functions cease, immuni-
    ty continues “with respect to acts performed by such a
    person in the exercise of his functions as a member of
    the mission . . . .” Vienna Convention, art. 39(2). Arti-
    cle V, Section 18(a) of the General Convention like-
    wise provides that UN officials are “immune from le-
    gal process in respect of words spoken or written and
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    all acts performed by them in their official capacity
    . . . .” General Convention, art. V, § 18(a). Accord 22
    U.S.C. § 288d(b) (IOIA provision conferring upon of-
    ficers and employees of international organizations
    “immun[ity] from suit and legal process relating to
    acts performed by them in their official capacity and
    falling within their functions”).
        Here, Secretary-General Ban and Assistant Secre-
    tary-General Mulet are currently serving as diplo-
    matic envoys, see A-129, and are therefore entitled to
    diplomatic immunity under the Vienna Convention.
    Further, because Appellants have sued Secretary-
    General Ban and Assistant Secretary-General Mulet
    for acts taken in their official capacity as UN officials,
    see Complaint ¶¶ 21-22, they are immune for those
    actions on that basis as well. Because the UN has not
    waived, but rather has expressly asserted the im-
    munity of Secretary-General Ban and Assistant Sec-
    retary-General Mulet in this matter,7 see A-129-135,
    they both enjoy immunity from this suit.
       Appellants point to no support for their novel the-
    ory that the UN’s purported breach of the General
    Convention or the SOFA renders void the Secretary-
    General and Assistant Secretary-General’s immuni-
    —————
       7   The General Convention provides that the
    “Secretary-General shall have the right and the duty
    to waive the immunity of any official in any case
    where, in his opinion, the immunity would impede
    the courts of justice and can be waived without prej-
    udice to the interests of the United Nations.” General
    Convention, art. V, § 20.
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    ty.8 To the contrary, this Court has recognized that,
    under the Vienna Convention, subject only to excep-
    tions that do not apply in this case, “current diplo-
    matic envoys enjoy absolute immunity from civil and
    criminal process . . . .” Brzak, 597 F.3d at 113. Be-
    cause such immunity is absolute, it is necessarily not
    contingent on the UN’s provision of dispute resolution
    mechanisms. Accordingly, this Court should likewise
    affirm the district court’s decision that Secretary-
    General Ban and Assistant Secretary-General Mulet
    are immune from this lawsuit.

                          POINT III

           Appellants’ Constitutional Arguments Fail
       Appellants’ argument that the UN’s immunity de-
    prives United States citizens of their constitutional
    —————
       8  Appellants cite the Vienna Convention pream-
    ble and United States v. Cty. of Arlington, 669 F.2d
    925 (4th Cir. 1982), for the unremarkable proposition
    that diplomatic immunity is intended to benefit gov-
    ernments rather than individuals. See Ap. Br. at 48.
    Appellants’ other citations are similarly not on point,
    as neither address diplomatic immunity under the
    UN Charter, the General Convention or the Vienna
    Convention. See id. (citing Restatement (Second) of
    Torts § 895D cmt. j (2015) (regarding police officer
    immunity); Guevara v. Peru, 468 F.3d 1289, 1305
    (11th Cir. 2006) (evaluating Foreign Sovereign Im-
    munities Act’s commercial activity exception to sov-
    ereign immunity), rev’d and remanded on other
    grounds, 608 F.3d 1297 (11th Cir. 2010)).
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    right of access to the courts has already been consid-
    ered and rejected by this Court. As this Court previ-
    ously recognized when last confronted with this issue,
    Appellants’ constitutional arguments “do[ ] no more
    than question why immunities in general should ex-
    ist.” Brzak, 597 F.3d at 114. Yet the existence of vari-
    ous types of immunities, which have been enshrined
    in the common law since this country was founded,
    have never been held to violate the Constitution. Ap-
    pellants’ argument is therefore without merit.
       In Brzak, the plaintiffs, one of whom was a United
    States citizen, argued that granting the UN absolute
    immunity would violate their procedural due process
    right to litigate the merits of their case and their sub-
    stantive due process right to access the courts. See
    597 F.3d at 113. This Court disagreed, noting: “The
    short—and conclusive—answer is that legislatively
    and judicially crafted immunities of one sort or an-
    other have existed since well before the framing of
    the Constitution, have been extended and modified
    over time, and are firmly embedded in American
    law.” Id. The Court concluded that “[i]f appellants’
    constitutional argument were correct, judicial im-
    munity, prosecutorial immunity, and legislative im-
    munity, for example, could not exist,” and accordingly
    upheld the UN’s immunity from suit. Id.
       Appellants attempt to distinguish Brzak, noting
    that plaintiffs there had access to an internal UN re-
    dress process. See Ap. Br. at 56. But the existence—or
    lack thereof—of any redress process was irrelevant to
    the Court’s Constitutional analysis.
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       Constitutional Law Scholars Amici Curiae, rather
    than attempt to distinguish Brzak, suggest instead
    that Brzak was wrongly decided. These Amici argue
    that the various forms of immunity discussed in
    Brzak—including judicial, prosecutorial, legislative,
    sovereign and diplomatic—are “either based on the
    Constitution itself, or form the understanding of the
    Constitution at the time of ratification” and “there-
    fore cannot themselves violate the Constitution.”
    Docket No. 63-2, Brief of Constitutional Law Scholars
    and Practitioners as Amici Curiae (“Con. Sch. Br.”),
    at 16.
        This Court should not revisit its holding in Brzak,
    which correctly recognized that to attack the UN’s
    immunity is to attack the concept of immunities gen-
    erally, as there is no coherent basis to differentiate
    the UN’s immunity from other forms of immunity. To
    the contrary, the UN’s immunity is analogous to the
    immunity historically enjoyed by sovereign nations,
    an immunity which pre-exists the Constitution and
    has long been enshrined in this country’s laws. See,
    e.g., Victory Transport Inc. v. Comisaria General de
    Abastecimientos y Transportes, 336 F.2d 354, 357 (2d
    Cir. 1964). Although the UN is not a sovereign, the
    UN consists of sovereign member states, which con-
    ferred upon the UN immunity in order to allow it to
    perform its important missions. See Charter, art.
    105(1). It has been long recognized that sovereign
    immunity does not violate the Constitutional right of
    access to the courts. See, e.g., Clinton County Com’rs
    v. U.S.E.P.A., 116 F.3d 1018, 1026 (3d Cir. 1997)
    (holding that statute that precluded suit against EPA
    did not violate right of access to the courts). Amici
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    can cite no support for their suggestion that the
    granting of analogous immunity to the UN violates
    the Constitution. And as a practical matter, Amici’s
    argument would undermine the immunities not just
    of the UN, but of every international organization
    that is present in the United States and designated
    under the IOIA.9 Accordingly, this Court should ad-
    here to its prior ruling in Brzak, and affirm the dis-
    missal of Appellants’ constitutional claims.




    —————
       9   Constitutional Law Scholars Amici further ar-
    gue that courts apply a three-step analysis to deter-
    mine “whether a barrier infringes on the fundamen-
    tal right to access the courts,” see Con. Sch. Br. at 4,
    but fail to cite any authority for the proposition that
    courts conduct this analysis when evaluating an or-
    ganization’s immunity. See Con. Sch. Br. at 4-13.
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                      CONCLUSION
       For the foregoing reasons, the judgment of
    the district court should be affirmed.

    Dated:    New York, New York
              August 26, 2015

                        Respectfully submitted,

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               CERTIFICATE OF COMPLIANCE
       Pursuant to Rule 32(a)(7)(C) of the Federal Rules
    of Appellate Procedure, the undersigned counsel
    hereby certifies that this brief complies with the type-
    volume limitation of Rule 32(a)(7)(B). As measured by
    the word processing system used to prepare this brief,
    there are 6,936 words in this brief.

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